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                        IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF UTAH



       UNITED STATES OF AMERICA,                           ORDER OF FORFEITURE
                    Plaintiff,
                                                              Case No. 2:19-cr-00226
                        v.
                                                              Howard C. Nielson, Jr.
            PAMELA DIAZ-OSUNA,                              United States District Judge

                   Defendant.


       IT IS HEREBY ORDERED that:

       1.      As a result of a plea of guilty to Possession of Methamphetamine with Intent to

Distribute and Possession of a Firearm in Furtherance of a Drug Trafficking Crime (Counts 1

and 2 of the Felony Information) for which the Government sought forfeiture pursuant to 18

U.S.C. § 924(d), 28 U.S.C. § 2461(c), and 21 U.S.C. § 853, Defendant Pamela Diaz-Osuna shall

forfeit to the United States any firearm or ammunition involved in or used in any knowing

violation of 21 U.S.C. § 841(a)(1) and 18 U.S.C. § 924(c), including and limited to:

       •       Primary Weapon System rifle, CAL: .223/5.56, SN: X01323

       •       Remington Arms handgun, CAL: 45 SN: RHH028296

       •       Llama Minimax 45 handgun, CAL: 45, SN: 71-04-04815-04

       •       Century Arms RAS47 AK-47 rifle, CAL: 7.62X39 SN: RAS47105246

       •       Diamondback Multi-Caliber rifle, CAL: .223/5.56 SN: DB1908179

       •       Beretta pistol, CAL: 9, SN: PC038874

       •       Associated bag with multiple rifle magazines and ammunition
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        2.     The court has determined, based on the guilty plea to Possession of

Methamphetamine with Intent to Distribute and Possession of a Firearm in Furtherance of a Drug

Trafficking Crime, that the above-identified property is subject to forfeiture, Defendant had an

interest in the property, and the Government has established the requisite nexus between such

property and the offense to which Defendant has pleaded guilty.

        IT IS HEREBY ORDERED, ADJUDGED, AND DECREED THAT:

        3.     Pursuant to 18 U.S.C. § 924(d), 28 U.S.C. § 2461(c), 21 U.S.C. § 853, and

Federal Rule of Criminal Procedure 32.2(b)(1), the property identified above is hereby forfeited

to the United States.

        4.     Upon the entry of this Order, in accordance with Federal Rule of Criminal

Procedure 32.2(b)(3), the Attorney General (or a designee) is authorized to seize the property and

conduct any discovery proper in identifying, locating, or disposing of the property subject to

forfeiture.

        5.     Upon entry of this Order the Attorney General or a designee is authorized to

commence any applicable proceeding to comply with statutes governing third party interests,

including giving notice of this Order.

        6.     The United States shall publish notice of this Order on the Government’s internet

website, www.forfeiture.gov. The United States may also, to the extent practicable, provide

written notice to any person known to have an alleged interest in the subject property.

        7.     Any person, other than the above-named Defendant, asserting a legal interest in

the subject property may, within thirty days of the final publication of notice or receipt of notice,

whichever is earlier, petition the court for a hearing without a jury to adjudicate the validity of


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his alleged interest in the subject property, and amendment of the order of forfeiture pursuant to

21 U.S.C. § 853.

        8.      Pursuant to Federal Rule of Criminal Procedure 32.2(b)(4), this Order of

Forfeiture shall become final as to Defendant at the time of sentencing and shall be made part of

the sentence and included in the judgment. If no third party files a timely claim, this Order shall

become the Final Order of Forfeiture, as provided by Federal Rule of Criminal Procedure

32.2(c)(2).

        9.      Any petition filed by a third party asserting an interest in the subject property

shall be signed by the petitioner under penalty of perjury and shall set forth the nature and extent

of the petitioner’s right, title, or interest in the subject property, the time and circumstances of the

petitioner’s acquisition of the right, title, or interest in the property, any additional facts

supporting the petitioner’s claims, and the relief sought.

        10.     After the disposition of any motion filed under Federal Rule of Criminal

Procedure 32.2(c)(1)(A), and before a hearing on the petition, discovery may be conducted in

accordance with the Federal Rules of Civil Procedure upon a showing that such discovery is

necessary or desirable to resolve factual issues.

        11.     The United States shall have clear title to the subject property following the

court’s disposition of all third party interests or, if no petitions are filed, following the expiration

of the period provided in 21 U.S.C. § 853 which is incorporated by 18 U.S.C. § 982(b), for the

filing of third party petitions.

        12.     The court shall retain jurisdiction to enforce this Order, and to amend it as

necessary, pursuant to Federal Rule of Criminal Procedure 32.2(e).

        IT IS SO ORDERED.
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                                         DATED this 7th day of June, 2021.

                                         BY THE COURT:



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                                         Howard C. Nielson, Jr.
                                         United States District Judge




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